      Case: 1:19-cv-07593 Document #: 1 Filed: 11/18/19 Page 1 of 9 PageID #:1




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

LABORERS’ PENSION FUND, and                           )
LABORERS’ WELFARE FUND OF THE                         )
HEALTH AND WELFARE DEPARTMENT                         )
OF THE CONSTRUCTION AND GENERAL                       )
LABORERS’ DISTRICT COUNCIL OF                         )
CHICAGO AND VICINITY, and LABORERS’                   )
DISTRICT COUNCIL RETIREE HEALTH                       )
AND WELFARE FUND, and CATHY                           )
WENSKUS, as Administrator of the                      )
Funds,                                                )
                       Plaintiffs,                    )      Case No.    19-cv-7593
       v.                                             )
                                                      )      Judge
ALLEN PRESTWOOD CONCRETE                              )
CONSTRUCTION, INC., an                                )
Illinois corporation                                  )
                                                      )
                              Defendant.              )

                                          COMPLAINT

       Plaintiffs, Laborers’ Pension Fund, Laborers’ Welfare Fund of the Health and Welfare

Department of the Construction and General Laborers’ District Council of Chicago and Vicinity,

the Chicago Laborers’ District Council Retiree Health and Welfare Fund, and Catherine

Wenskus, not individually, but as Administrator of the Funds (hereinafter collectively “Funds”),

by their attorneys, Patrick T. Wallace, Amy N. Carollo, G. Ryan Liska, Katherine C.V.

Mosenson, and Sara Schumann, for their Complaint against Defendant Allen Prestwood

Concrete Construction, Inc. an Illinois corporation state:

                                                COUNT I

       (Failure To Submit Fringe Benefit Reports and/or Pay Fringe Benefit Contributions

                                       to Laborers’ Funds)
       Case: 1:19-cv-07593 Document #: 1 Filed: 11/18/19 Page 2 of 9 PageID #:1




        1.      Jurisdiction is based on Sections 502(e)(1) and (2) and 515 of the Employee

Retirement Income Security Act of 1974 (“ERISA”), as amended, 29 U.S.C. §§1132 (e)(1) and

(2) and 1145, Section 301(a) of the Labor Management Relations Act (“LMRA”) of 1947 as

amended, 29 U.S.C. §185(a), 28 U.S.C. §1331, 28 U.S.C. § 1367, and federal common law. The

Court has jurisdiction for any pendent state law contract claims pursuant to 28 U.S.C. §1367(a).

        2.      Venue is proper pursuant to Section 502(e)(2) of ERISA, 29 U.S.C. §1132(e)(2),

and 28 U.S.C. §1391 (a) and (b).

        3.      The Funds are multiemployer benefit plans within the meanings of Sections 3(3)

and 3(37) of ERISA. 29 U.S.C. §1002(3) and 37(A). They are established and maintained

pursuant to their respective Agreements and Declarations of Trust in accordance with Section

302(c)(5) of the LMRA. 29 U.S.C. § 186(c)(5). The Funds have offices and conduct business

within this District.

        4.      Plaintiff Catherine Wenskus (hereinafter “Wenskus”) is the Administrator of the

Funds, and has been duly authorized by the Funds’ Trustees to act on behalf of the Funds in the

collection of employer contributions owed to the Funds and to the Construction and General

District Council of Chicago and Vicinity Training Fund, and with respect to the collection by the

Funds of amounts which have been or are required to be withheld from the wages of employees

in payment of Union dues for transmittal to the Construction and General Laborers’ District

Council of Chicago and Vicinity (the “Union”). With respect to such matters, Wenskus is a

fiduciary of the Funds within the meaning of Section 3(21)(A) of ERISA, 29 U.S.C.

§1002(21)(A).
      Case: 1:19-cv-07593 Document #: 1 Filed: 11/18/19 Page 3 of 9 PageID #:1




       5.      Defendant Allen Prestwood Concrete Construction, Inc. (hereinafter the

“Company”), is an Illinois corporation. The Company does business within this District and was

at all times relevant herein an employer within the meaning of Section 3(5) of ERISA, 29 U.S.C.

§1002(5), and Section 301(a) of the LMRA, 29 U.S.C. §185(c).

       6.      The Union is a labor organization within the meaning of 29 U.S.C. §185(a). The

Union and the Company are parties to collective bargaining agreements, the most recent of

which became effective June 1, 2017. (“Agreement”). (A copy of the “short form” Agreement

entered into between the Union and the Company which adopts and incorporates Master

Agreements between the Union and various employer associations, and also binds the Company

to the Funds’ respective Agreements and Declarations of Trust and the Agreements and

Declarations of Trusts of the various Funds listed in paragraph 7 below, is attached hereto as

Exhibit A.)

       7.      The Funds have been duly authorized by the Construction and General Laborers’

District Council of Chicago and Vicinity Training Fund (the “Training Fund”), the Midwest

Construction Industry Advancement Fund (“MCIAF”), the Mid-American Regional Bargaining

Association Industry Advancement Fund (“MARBA”), the Chicagoland Construction Safety

Council (the “Safety Fund”), the Laborers’ Employers’ Cooperation and Education Trust

(“LECET”), the Concrete Contractors Association (“CCA”), the CDCNI/CAWCC Contractors’

Industry Advancement Fund (the “Wall & Ceiling Fund”), the CISCO Uniform Drug/Alcohol

Abuse Program (“CISCO”), the Laborers’ District Council Labor Management Committee

Cooperative (“LDCLMCC”), the Will Grundy Industry Trust Advancement Fund (“WGITA”),

the Illinois Environmental Contractors Association Industry Education Fund (“IECA Fund”), the

Illinois Small Pavers Association Fund (“ISPA”), and the Chicago Area Independent
       Case: 1:19-cv-07593 Document #: 1 Filed: 11/18/19 Page 4 of 9 PageID #:1




Construction Association (“CAICA”) to act as an agent in the collection of contributions due to

those Funds.

        8.     The Agreement and the Funds’ respective Agreements and Declarations of Trust

obligate the Company to make contributions on behalf of its employees covered by the

Agreement for pension benefits, health and welfare benefits, retiree health and welfare benefits,

and benefits for the training fund, and to submit monthly remittance reports in which the

Company, inter alia, identifies the employees covered under the Agreement and the amount of

contributions to be remitted to the Funds on behalf of each covered employee. Pursuant to the

terms of the Agreement and the Funds’ respective Agreements and Declarations of Trust,

contributions which are not submitted in a timely fashion are assessed liquidated damages plus

interest.

        9.     The Agreement and the Funds’ respective Agreements and Declarations of Trust

also permit the Funds to request that the Company submit its books and records to the Funds on

demand for an audit to determine fringe benefit and union dues contribution compliance.

        10.    Notwithstanding the obligations imposed by the Agreement and the Funds

respective Agreements and Declarations of Trust, the Company has performed covered work

during the months of August 2019 forward has:

        (a)    failed to pay contributions to the Laborers’ Pension Fund for the period of August

2019 forward, thereby depriving the Laborers’ Pension Fund of contributions, income and

information needed to administer the Fund and jeopardizing the pension benefits of the

participants and beneficiaries;

        (b)    failed to submit contributions to Laborers’ Welfare Fund of the Health and

Welfare Department of the Construction and General Laborers’ District Council of Chicago and
       Case: 1:19-cv-07593 Document #: 1 Filed: 11/18/19 Page 5 of 9 PageID #:1




Vicinity for the period of August 2019 forward, thereby depriving the Welfare Fund of

contributions, income and information needed to administer the Fund and jeopardizing the health

and welfare benefits of the participants and beneficiaries;

       (c)     failed to submit reports and/or pay contributions to Laborers’ District Council

Retiree Health and Welfare Fund for the period of August 2019 forward, thereby depriving the

Retiree Welfare Fund of contributions, income and information needed to administer the Fund

and jeopardizing the health and welfare benefits of the participants and beneficiaries;

       (d)      failed to submit reports and/or pay contributions to Laborers’ Training Fund for

the period of August 2019 forward, thereby depriving the Retiree Welfare Fund of contributions,

income and information needed to administer the Fund and jeopardizing the health and welfare

benefits of the participants and beneficiaries;

       (e)     failed to report and/or all contributions owed to one or more of the other affiliated

funds identified above for the period of August 2019 forward, thereby depriving said Funds and

jeopardizing the benefit of the participants and beneficiaries;

       11.     The Company’s actions in failing to submit timely reports and contributions

violate section 29 U.S.C. §1145 and Section 301 of the LMRA, 29 U.S.C. §185.

       12.     Pursuant to Section 502(g)(2) of ERISA, 29 U.S.C. §1132 (g)(2), Section 301 of

the LMRA, 29 U.S.C. §185, federal common law, and the terms of the Agreement and the

Funds’ respective Trust Agreements, the Company is liable to the Funds for unpaid

contributions, as well as interest and liquidated damages on the unpaid contributions,

accumulative liquidated damages on the late paid contributions, audit costs, reasonable

attorneys’ fees and court costs, and such other legal and equitable relief as the Court deems

appropriate.
      Case: 1:19-cv-07593 Document #: 1 Filed: 11/18/19 Page 6 of 9 PageID #:1




       WHEREFORE, Laborers’ Funds respectfully request that this Court:

       a.      enter judgment ordering Defendant Allen Prestwood Concrete Construction, Inc.

to submit benefit reports and/or contributions to Laborers’ Funds for the period of August 2019;

       b.      ordering the Defendant Allen Prestwood Concrete Construction, Inc.to produce its

books and records to the Funds for a fringe benefit contribution compliance audit for the period

July 1, 2018 forward;

       c.      entering judgment against Defendant Allen Prestwood Concrete Construction,

Inc. on any amounts shown to be due and the August 2019 forward monthly fringe benefit

reports plus 20% liquidated damages, interest and attorney fees and costs;

       d.      awarding Plaintiffs Funds any further legal and equitable relief as the Court

deems appropriate.

                                              COUNT II

             (Failure To Submit Reports and/or Pay Union Dues to Laborers’ Funds)

       13.     The Funds re-allege and incorporate the allegations contained in paragraphs 1-12

of this Complaint.

       14.     Pursuant to agreement, the Laborers’ Funds have been duly designated to serve as

collection agents for the Union in that the Laborers’ Funds have given the authority to collect

from employers union dues which should have been or have been deducted from wages of

covered employees.

       15.     Dues reports and contributions are due by the 10th following the month in which

the work was performed. Dues reports and contributions which are not submitted in a timely

fashion are assessed liquidated damages at 10% of the report amount.
       Case: 1:19-cv-07593 Document #: 1 Filed: 11/18/19 Page 7 of 9 PageID #:1




       16.     Notwithstanding the obligations imposed by the Agreement, the Company has

performed covered work during the months of May 2018 forward and has failed to withhold

and/or report to and forward union dues that were deducted or should have been deducted from

the wages of its employees for the period of May 2018 forward, thereby depriving the Union of

income and information.

       17.     Pursuant to the Agreement, the Company is liable to the Laborers’ Funds for the

unpaid union dues, as well as liquidated damages, accumulative liquidated damages, audit costs,

reasonable attorneys’ fees and costs as the Union’s collection agent, and such other legal and

equitable relief as the Court seems appropriate.

       WHEREFORE, Laborers’ Funds respectfully request that this Court:

       a.      enter judgment ordering Defendant Allen Prestwood Concrete Construction, Inc.

to submit dues reports and payments for the period of May 2018;

       b.      ordering the Defendant Allen Prestwood Concrete Construction, Inc. to submit its

books and records to the Funds for a union dues compliance audit for the period July 1, 2018

forward;

       c.      entering judgment in sum certain in favor of the Plaintiff Laborers’ Funds against

Defendant Allen Prestwood Concrete Construction, Inc. on the amounts due and owing pursuant

to the dues reports and contributions revealed as owing pursuant to May 2018 forward dues

reports to be submitted, including dues, liquidated damages, accumulative liquidated damages in

late reports, audit costs and Plaintiffs’ reasonable attorney’s fees and costs;

       d.      awarding Plaintiffs Funds any further legal and equitable relief as the Court

deems appropriate.

November 18, 2019                                              Laborers’ Pension Fund, et al.

                                                               By: /s/ G. Ryan Liska
      Case: 1:19-cv-07593 Document #: 1 Filed: 11/18/19 Page 8 of 9 PageID #:1




G. Ryan Liska
Laborers' Pension and Welfare Funds
111 W. Jackson Blvd., Suite 1415
Chicago, IL 60604
(312) 692-1540
Case: 1:19-cv-07593 Document #: 1 Filed: 11/18/19 Page 9 of 9 PageID #:1
